                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   at CHATTANOOGA

UNITED STATES OF AMERICA                      )
                                              )       Case No. 1:16-cr-20-2
        v.                                    )
                                              )       Judge McDonough/Steger
NICOLE ROBERTS                                )


                            REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), the undersigned United States Magistrate Judge conducted

a plea hearing in this case on September 7, 2016. At the hearing, Defendant entered a plea of

guilty to Count One of the Indictment in exchange for the undertakings made by the Government

in the written Plea Agreement [Doc. 24] and Plea Agreement Supplement [Doc. 25] (hereinafter

“Plea Agreement”). On the basis of the record made at the hearing, the Court finds that

Defendant is fully capable and competent to enter an informed plea; the plea is made knowingly

and with full understanding of each of the rights waived by Defendant; it is made voluntarily and

free from any force, threats, or promises, apart from the promises in the Plea Agreement;

Defendant understands the nature of the charges and penalties provided by law; and the plea has a

sufficient basis in fact.

        I therefore recommend that Defendant’s plea of guilty to Count One of the Indictment be

accepted; the Court adjudicate Defendant guilty of the charges set forth in Count One of the

Indictment; and the written Plea Agreement be accepted at the time of sentencing. I further

recommend that Defendant remain in custody until sentencing in this matter. Acceptance of the

plea, adjudication of guilt, acceptance of the Plea Agreement, and imposition of sentence are

specifically reserved for the District Court Judge.


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       The Defendant’s sentencing hearing is scheduled on December 16, 2016, at 2:00 p.m.

       ENTER:


                                               s/Christopher H. Steger
                                               UNITED STATES MAGISTRATE JUDGE




                                      NOTICE TO PARTIES

        You have the right to de novo review by the district judge of the foregoing findings. Any
application for review must be in writing; must specify the portions of the findings or proceedings
objected to; and must be filed and served no later than fourteen (14) days after the plea hearing.
Failure to file objections within fourteen days constitutes a waiver of any further right to challenge
the plea of guilty in this matter. See 28 U.S.C. § 636(b).




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